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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )
                                              )
                v.                            )       Case No.: 1:18-cr-218 (TSC)
                                              )
MARIIA BUTINA, a/k/a                          )
MARIA BUTINA,                                 )
                                              )
         Defendant.                           )
                                              )

        DEFENDANT MARIA BUTINA’S MOTION FOR AN EXTENSION OF TIME
           WITHIN WHICH TO REPLY TO THE ORDER TO SHOW CAUSE

         Pursuant to Fed.R.Crim.P. 45(b), Defendant Maria Butina, by counsel, moves this Court

for an extension of time to and including Saturday, September 22, 2018 at 5:00 p.m., within which

to file a response to the Court’s Order to Show Cause. (Doc. 32.) In support, the undersigned states

that:

         This matter comes before the Court regarding a defense subpoena duces tecum served upon

the Office of General Counsel for American University that sought a discrete body of records from

the custodian of such records, the production of which would be material and helpful for the

defense. The subpoena was served after consultation with counsel for American University.

Additionally, American University sought an extension of time to respond to the subpoena from

the undersigned, which was granted. Following the receipt of ex parte motions filed by third parties

(none of whom were served with the subpoena), the Court issued counsel for the Defendant a Show

Cause Order to file a copy of the subpoena on the record and response by 5:00 p.m. on Friday,

September 21, 2018, explaining why the subpoena should not be quashed.

         The undersigned respectfully requests a 24-hour extension of time to file a response. This

extension of time is necessary to enable counsel to prepare a succinct response to assist the Court



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in its analysis of the issues presented. The combination of competing work schedules and other

responsibilities, the nature of which include active cases with imminent trial dates and witness

preparation obligations, have made it not possible for the undersigned to prepare a response within

the current briefing schedule and timing limitations.

       To accommodate the time and effort needed to submit a thoughtful response to the Court’s

Order to Show Cause, the undersigned kindly requests that this Court grant a 24-hour extension of

time, to an including Saturday, September 22, 2018 at 5:00 p.m., in which to file a response. This

motion is not sought for delay, but so that justice may be done. Prior to the filing of this motion,

the undersigned conferred with counsel for the government who indicated that the government had

no position regarding this request for an extension of time.

       WHEREFORE, for the foregoing reasons, Defendant Maria Butina respectfully requests

that this Court grant this motion to extend time to file a response to the Order to Show Cause.

Dated: September 21, 2018                     Respectfully submitted,

                                              /s/Alfred D. Carry
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